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 1   THOMAS A. JOHNSON, #119203
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
 4                        IN THE UNITED STATES DISTRICT COURT
 5                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
 7                                              )
     UNITED STATES OF AMERICA,                  )   Case No.: 2:12-cr-00185-TLN
 8                                              )
                  Plaintiff,                    )
 9                                              )   STIPULATION AND ORDER FOR
         vs.                                    )   CONTINUANCE OF JUDGMENT AND
10   NADEEM KHAN,                               )   SENTENCING
                                                )
11                Defendant.                    )   Date: August 24, 2017
                                                )   Time: 9:30 a.m.
12                                              )   Judge: Troy L. Nunley
                                                )
13
14
           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15
     Judgment and Sentencing scheduled for August 17, 2017, is continued to August 24,
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     2017, at 9:30 a.m. in the same courtroom. The continuance is being requested because
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     defense counsel is still recovering from knee surgery and needs additional time to prepare
18
     for sentencing. Probation has also been informed of the continuance request. Jason Hitt,
19
     Assistant United States Attorney, and Thomas A. Johnson, Defendant’s attorney, agree to
20
     this continuance.
21
22
     IT IS SO STIPULATED.
23
24   DATED: August 15, 2017                          By:    /s/ Thomas A. Johnson
                                                            THOMAS A. JOHNSON
25                                                          Attorney for Nadeem Khan
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27
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     DATED: August 15, 2017                         PHILLIP A. TALBERT
 1                                                  United States Attorney
 2                                            By:    /s/ Jason Hitt
                                                    JASON HITT
 3                                                  Assistant United States Attorney
 4
 5                                     ORDER
 6   IT IS SO ORDERED.
 7   DATED: August 15, 2017
 8
 9                                                    Troy L. Nunley
10                                                    United States District Judge

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